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Ul\|lTED STATES OF Al\/|ERlCA, * ' ‘ "€ i.-ii.l-‘??Hl$
P|aintiff, *
vs. * Crimina| No. 02-20326-0
STEVEN JOSEPl-l YUR|CK, *
Defendant. *

 

AN|ENDED PRELIM|NARV ORDER OF FORFE|TURE

 

ln lndictment Number 02-20326-D, the United States sought forfeiture of specific
property ofdefendant Steven Joseph Yurick, pursuant to 18 U.S.C. §§ 2251 and 2252. On
August 4, 2003, a jury verdict of guilty Was entered as to Counts 1 - 8 and the forfeiture in
Count 9 of the indictment
According|y, it is ORDERED;

1. Based upon the jury’s guilty verdict as to Counts 1 - 8 and the forfeiture in
Count 9 ofthe indictment Number 02-20326-D, the United States is authorized to seize the
following property belonging to defendant Steven Joseph Yurick, and his interest in it is
hereby forfeited to the United States for disposition in accordance With the |aW, subject to
the provisions of 21 U.S.C. §853(n) and Rule 32(d)(2) of the Federa| Rules of Criminal
Procedure:

a. One (1) Computer Card Reader,
SN-CU99097180;

b. One (1) |omega 1OOMB Zip Drive,
SN-PAAQ17CSB'/;

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W`»[h pure ';-i~' gr;:,`»,lor 32lb) FRCrP orr ,._q.:é_l_e,_§___»__-»--H l

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c. One (1) |omega Zip Disk Tit|ed
"Pics/Poses Art/Erotic";

d. One (1) |omega Zip Disk Titled
"Naomi&Amanda Naomi Site Pics";

e. One (1) 128MB Fiash l\/lemory Cards;
f. One (1) Bi\/lB F|ash |Viemory Card;

g. Three (3) CD-ROi\/iS;

.3`

TWo (2) 1.44lViB Fioppy Disi<ettes;

Ali pursuant to Title 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States i\/larshal in his
secure custody, or, as may be necessary, the Attorney Genera| may appoint a substitute
custodian.

3. Pursuant to 21 U.S.C. §853(n)(1), the United States l\/larsha| shall publish at
least once a Week for three successive Weeks in a newspaper of general circulation in
Shelby County, Tennessee, notice of this order, notice of the United States' intent to
dispose ofthe property in such manner as the Attorney Generai or his delegate may direct,
and notice that any person, other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition With the court Within thirty
(30) days of the final publication of notice or of receipt of actual notice, Whichever is earlier.
This notice shall state that the petition shall be for a hearing to adjudicate the validity of the
petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioners claim
and the relief soughtl The United States Marsha| or his delegate may use the attached

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Lega| Notice.

The United States may aiso, to the extent practicabler provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so
nouhed.

4) F’ursuant to Fed. R. Crim. P. 32.2(b)(3), this Preiiminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5) if no third party files a timely ciaim, this Order shall become the Fina| Order
of Forfeiture, as provided by Fed. R. Crim. F’. 32.2(0)(2).

6. The United States shall have cieartitie to the Subject Property following the
Court’s disposition of ali third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461(c), for the filing of third party petitions.

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

lT ls so oRDERED this gag day of\§;§o.L/»»éw/ , 2005.

BERN\cE B. ooN'ALo
United States District Judge

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By:

PRESENTED BY:

LAVVRENCE J. LAURENZ|
Acting United States Attorney

WMW/

l/HalsToPHER`E. coTTEN
Assistant United States Attorney

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|N THE UNiTED STATES D|STRiCT COURT
FOR Ti-iE WESTERN D|STR|CT OF TENNESSEE
VVESTERN D|V|SiON

UNiTED STATES OF AMER|CA, *

P|aintiff, *
vs. * Criminai No. 02-20326-D
STEVEN JOSEPH YURICK, *

Defendant. *

 

AN|ENDED LEGAL NOT|CE

 

Take notice that on , the United States District Court for the
Western DistrictofTennessee, Western Division, entered a Pre|iminary Order of Forfeiture
ordering that all right, title and interest of the defendant Steven Joseph Yurick in the
following property be forfeited to the United States to be disposed of in accordance with
law:

1. One (1) Computer Card Reader,
SN-CU99097180;

2. One (1) |omega 100i\/lB Zip Drive,
SN-PAAQ17CBB7;

3. One (1) |omega Zip Disk Tit|ed
"Pics/Poses Art/Erotic";

4. One (1) |omega Zip Disk Titled
"Naomi&Arnanda Naomi Site Pics";

5. One (1) 128|\/|B Fiash l\/lemory Cards;
6. One (1) BMB Fiash i\/lemory Card;

7. Three (3) CD-ROMS;

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8. Two (2) 1.44|\/iB Fioppy Diskettes;

Ai| pursuant to `l'it|e 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney
Generai or his delegate may direct Any person, other than the defendant, having or
claiming a legal interest in the above-listed forfeited property must file a petition with the
Court within thirty (30) days of the final publication of this notice or of receipt of actual
notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of
the petitioner’s alleged interest in the property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, title, or
interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and relief sought.

 

DSTRIC COURT - WE"RNT DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 133 in
case 2:02-CR-20326 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

LeAnn B. Rial

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chorable Bernice Donald
US DISTRICT COURT

